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FILED

UNITED STATES DISTRICT COUBM APR 21 AM 9:03
MIDDLE DISTRICT OF FLORIDA.
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ORLANDO. FLORIDA
GEORGE ZIMMERMAN,
Plaintiff,

Vv. Case No: 8:20-cv-1077-CEH-CPT

PETE BUTTIGIEG and ELIZABETH
WARREN,

Defendants.

 

PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
PLAINTIFFS AMENDED COMPLAINT

Plaintiff George Zimmerman (“Plaintiff”) hereby submits his opposition to
Defendants Pete Buttigieg (“Buttigieg”) and Elizabeth Warren’s (“Warren”)

Motion to Dismiss.
I. INTRODUCTION c

On February 23, 2021 the Defendants’ Motion To Dismiss was granted without
prejudice. The Plaintiff was granted the opportunity by the Court to file an Amended
Complaint on or before March 9, 2021. The Plaintiff (““Zimmerman’’) filed an

Amended Complaint which cures the defects discussed in the Order.
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The Court stated in its ORDER:

“In sum, the complaint contains deficiencies that subject it to dismissal

as a Shotgun pleading. Personal jurisdiction over Defendants has not

been established, as Zimmerman has not sufficiently alleged that either

Buttigieg or Warren committed a tortious act in this state. Additionally,

Zimmerman has failed to state a cause of action by failing to sufficiently

allege publication, an essential element of defamation.”

Zimmerman filed an Amended Complaint on March 9, 2021. The Court ruled
in favor of Zimmerman on many points and the Amended Complaint cures the

remaining issues.

Il. Shotgun Pleading

Zimmerman’s Amended Complaint is not a shotgun pleading as it separates
into a different count each cause of action or claim for relief against each defendant.
The Amended Complaint is in the form of grouping of facts in main section generally
around one defendant at a time, then joint fact assertions. The counts deal with joint
and several liability. The Defendants by their own briefing clearly can dissect and

identify which facts, claims etc. relate to which defendant.

The cases cited by the Court make it clear that the goal is to ensure concise
pleadings placing the Defendants on notice of the facts and claims pertinent to each
Defendant. “The unifying characteristic of all types of shotgun pleadings is that they
fail to one degree or another, and in one way or another, to give the defendants
adequate notice of the claims against them and the grounds upon which each claim
rests.” Weiland v. Palm Beach Sheriff's Office, 792 F.3d at 1323; see also

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Lampkin Asam v. Volusia Cnty. Sch. Bd., 261 F. App’x 274, 277 (11th Cir. 2008)
(“A complaint that fails to articulate claims with sufficient clarity to allow the
defendant to frame a responsive pleading constitutes a ‘shotgun pleading.””).
Zimmerman’s Amended Complaint articulates claims with sufficient clarity to allow

the defendant to frame a responsive pleading.

III. Amended Complaint Establishes Personal Jurisdiction and Publication

in Florida

Zimmerman alleges in the Amended Complaint that the tweets were accessed
by a third party in Florida. “Section 48.193(1)(a)(2) provides that a nonresident
defendant is subject to personal jurisdiction in Florida ‘for any cause of action arising

from ... [c]omitting a tortious act within [Florida].’ ” Louis Vuitton, 736 F.3d at 1353

 

(quoting Fla. Stat. § 48.193(1)(a)(2)). “[T]he alleged tortfeasor's ‘physical presence

[in Florida] is not required.’ ” Horizon, 421 F.3d at 1168 (quoting Wendt v. Horowitz

 

822 So.2d 1252, 1260 (Fla.2002)). In this case jurisdiction under the long—arm
statute may be triggered where there are allegations about an out-of-state defendant's
electronic or written communications into Florida and the cause of action arises from
those communications. Id. (citing Wendt, 822 So.2d at 1260 and Acquadro v.
Bergeron, 851 So.2d 665, 671 (Fla.2003)).
Paragraph 6 -7 of the Amended Complaint state:

6. “The actions giving rise to this lawsuit occurred on February 5, 2020

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when defendant Pete Buttigieg made the following tweet:

Pete Buttigieg @ @PeteButtigieg - Feb 5 v
| Trayvon Martin would have been 25 today.

How many 25th birthdays have been stolen from us by white supremacy, gun

violence, prejudice, and fear?

#BlackLivesMatter &
VD 13.3K ti 5.6K © 421K 4,

7. The tweet was read by the following Florida residents:

a. Christine Costello
2008 Greenwood Valley Drive
Plant City, Florida 33563

b. Richard Baris
2939 NW 43* Avenue
Gainesville, Florida 32605

C. Mandy Ellzey
5940 Kendrew Drive
Port Orange, Florida 32127

d. Robert Mas
8762 NW 158" Street
Hialeah, Florida 33018

e. Richard O’Brien
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2830 Se Tate Avenue
Port Saint Lucie, Florida 34984

I Leon Zhivelev (@Leonfunking)
447 NE 195" Street
Apt. 309
Miami, Florida 33179

g. Steven Lemongello
Orlando Sentinel

February 5, 2020
“Pete Buttigieig honors Trayvon Martin’s 25" birthday tweets,

‘BlackLivesMatter’”
Paragraph 14-16 of the Amended Complaint state:

14. Defendant Warren tweeted the following statement to her 3,600,000

followers on Twitter:
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Elizabeth Warren @
@ewarren

My heart goes out to @SybrinaFulton and Trayvon's
family and friends. He should still be with us today.

We need to end gun violence and racism. And we need
to build a world where all of our children—especially
young Black boys—can grow up safe and free.

@ Frederick Joseph @ @FredTJoseph - Feb 5
Today would have been Trayvon Martin's 25th birthday.

His memory should always have a place in our hearts, and his tragedy should always
have a place in our work. #HappyBirthdayTrayvon

   

ae
8:13 PM - Feb 5, 2020 - Twitter Web App
1K Retweets 74K Likes
15. In only three days, the tweet received 7,300 likes and 1,000 retweets, as well as
national media coverage, including the state of Florida.
16. The tweet was read by the following Florida residents:
a. Greg Angel
11 W Harding St
Orlando, Florida 32806

b. Darren Freeman
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1006 S Lake Mariam Dr
Winter Haven, Florida 33884

C. Paul Hurteau, Jr

66 Hatteras Ave

Winter Haven, Florida 33880
d. Amber Q Perry

8516 Fortress Dr

Tampa, Florida 33621
é. Farah Tavakoli

953 Northridge Dr

Palm Harbor, Florida 34683
I Gail Young

1010 Dotterel Rd Apt 217
Delray Beach, Florida 3344

Zimmerman’s Amended Complaint establishes personal jurisdiction over
Buttigieg and Warren. Personal jurisdiction exists over a nonresident defendant under
Florida's long-arm statute and does not violate the Due Process Clause of the
Fourteenth Amendment to the U.S. Constitution. Louis VuittonMalletier, S.A. v.
Mosseri, 736 F.3d 1339, 1350 (11th Cir. 2013). Both prongs of the analysis are
satisfied may and the Court may exercise personal jurisdiction over a nonresident

defendant. Madara v. Hall, 916 F.2d 1510, 1514 (11th Cir. 1990).
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As to the reach of Florida’s long-arm statute, it is well established that federal
courts are required to construe it as would the Florida Supreme Court as it involves
a question of Florida law. Id. The Eleventh Circuit has explained that:

A defendant can be subject to personal jurisdiction under Florida's

long-arm statute in two ways: first, section 48.193(1)(a) lists acts that

subject a defendant to specific personal jurisdiction—that is, jurisdiction

over suits that arise out of or relate to a defendant's contacts with

Florida, Fla. Stat. § 48.193(1)(a); and second, section 48.193(2)

provides that Florida courts may exercise general personal

jurisdiction—that is, jurisdiction over any claims against a defendant,
whether or not they involve the defendant's activities in Florida—if the
defendant engages in “substantial and not isolated activity” in Florida,

id. § 48.193(2).

Carmouche v. Tamborlee Mgmt., Inc., 789 F.3d 1201, 1203-04 (11th Cir. 2015).
“[S]pecific personal jurisdiction authorizes jurisdiction over causes of action arising
from or related to the defendant's actions within Florida and concerns a nonresident
defendant's contacts with Florida only as those contacts related to the plaintiff's cause
of action.” Louis Vuitton, 736 F.3d at 1352. General jurisdiction, on the other hand,
exists when a defendant “is engaged in substantial and not isolated activity within this
state ... whether or not the claim arises from that activity.” Id. (quoting Fla. Stat. §
48.193(2)).

Long-arm jurisdiction exists and the exercise of jurisdiction does not offend
“the Due Process Clause of the Fourteenth Amendment to the United States
Constitution, which requires that the defendant have minimum contacts with the
forum state and that the exercise of jurisdiction over the defendant does not offend

‘traditional notions of fair play and substantial justice.’ ” Horizon Aggressive
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Growth, L.P. v. Rothstein-Kass, P.A., 421 F.3d 1162, 1166 (11th Cir. 2005) (quoting
Int'l Shoe Co. v. Washington, 326 U.S. 310, 316, 66 S.Ct. 154, 90 L.Ed. 95 (1945));
Mut. Serv. Ins. Co. v. Frit Indus., Inc., 358 F.3d 1312, 1319 (11th Cir. 2004)(same).
“The Due Process Clause of the United States Constitution protects an individual's
liberty interest in not being subject to the binding judgments of a forum with which
he has established no meaningful contacts, ties, or relations.” Thomas v. Brown, 504
F. App'x 845, 848 (11th Cir. 2013) (quotation omitted).

Where a forum seeks to assert specific personal jurisdiction over a nonresident
defendant, due process requires the defendant have “fair warning” that a particular
activity may subject him to the jurisdiction of a foreign sovereign. Madara, 916 F.2d
at 1516. This requirement is satisfied because the defendants have “purposefully
directed” his activities at the forum and the litigation results from alleged injuries that
“arise out of or relate to” those activities. Id. (citing cases). Once this has been
established, the court considers various factors in determining whether the exercise
of jurisdiction would comport with “fair play and substantial justice.” Id. at 1517
(quoting Burger King Corp. v. Rudzewicz, 471 U.S. 462, 476 (1985)). These factors
include:

the burden on the defendant in defending the lawsuit, the forum state's

interest in adjudicating the dispute, the plaintiff's interest in obtaining

convenient and effective relief, the interstate judicial system's interest

in obtaining the most efficient resolution of controversies and the shared

interest of the states in furthering fundamental substantive social

policies.

Id. (citing Burger King, 471 U.S. at 477).
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Zimmerman contends that the long-arm statute has been satisfied as the tweets
were widely covered in the national media, including in Florida, and accessed in
Florida. [Amended Complaint J 7, 416]. In his Amended complaint Zimmerman has
alleged that the tweets were accessed by multiple third parties in Florida. [Amended
Complaint, 7, $16]. “Section 48.193(1)(a)(2) provides that a nonresident defendant
is subject to personal jurisdiction in Florida ‘for any cause of action arising from ...
[c]omitting a tortious act within [Florida].’ ” Louis Vuitton, 736 F.3d at 1353
(quoting Fla. Stat. § 48.193(1)(a)(2)). “[T]he alleged tortfeasor's ‘physical presence

[in Florida] is not required.’ ” Horizon, 421 F.3d at 1168 (quoting Wendt v. Horowitz

 

822 So.2d 1252, 1260 (Fla.2002)). Jurisdiction under the long—arm statute may be
triggered where there are allegations about an out-of-state defendant's electronic or
written communications into Florida and the cause of action arises from those
communications. Id. (citing Wendt, 822 So.2d at 1260 and Acquadro v. Bergeron,
851 So.2d 665, 671 (Fla.2003)).

The parties have both discussed the Florida Supreme Court’s ruling on a very

similar case, Internet Sols. Corp. v. Marshall, 39 So. 3d 1201 (Fla. 2010). In that case,

 

defendant, operator of a noncommercial website—on which she posts information
about consumer-related issues—made a post about one of the websites operated by
plaintiff employment recruiting and internet advertising company. Id. at 1203. The
post included a listing of affiliates of plaintiff and listed Florida addresses. Id.

Additionally, exhibits attached to the complaint indicated that several of the

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comments posted by third parties appeared to be from Florida. Id. Plaintiff brought
suit against Defendant in federal court in Florida, and Defendant—a resident of the
State of Washington—moved to dismiss for lack of personal jurisdiction. Id. at 1204.
The court granted the motion, concluding that “there is no evidence that Marshall
specifically targeted Florida residents.” Id. at 1205. The dismissal was appealed, and
the Eleventh Circuit certified the following question to the Florida Supreme Court:
whether a nonresident commits a tortious act within Florida for purposes

of the long-arm statute when he or she makes allegedly defamatory

statements about a company with its principal place of business in

Florida by posting those statements on a website, where the website

posts containing the statements are accessible and accessed in Florida
Id. at 1206.

The court answered in the affirmative, concluding that “allegedly defamatory
material about a Florida resident placed on the Web and accessible in Florida
constitutes an ‘electronic communication into Florida’ when the material is accessed
(or ‘published’) in Florida.” Id. In doing so, the Court pointed out that the question
of whether a posting on a website constituted an electronic communication into
Florida was a more difficult one than presented by telephone calls, e-mails, chat

rooms, and facsimiles—which are all directed by the alleged tortfeasor into a specific

forum. Id. at 1210. The Court reasoned further:

In the context of the World Wide Web, given its pervasiveness, an
alleged tortfeasor who posts allegedly defamatory material on a website
has intentionally made the material almost instantly available
everywhere the material is accessible. By posting allegedly defamatory

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material on the Web about a Florida resident, the poster has directed the

communication about a Florida resident to readers worldwide, including

potential readers within Florida. When the posting is then accessed by

a third party in Florida, the material has been “published” in Florida and

the poster has communicated the material “into” Florida, thereby

committing the tortious act of defamation within Florida.

Id. at 1214-15. Thus, the court explained, it was necessary to review the complaint
to determine whether it stated a cause of action for libel, including publication of the
statement in Florida. Id. at 1214.

The Eleventh Circuit has since followed this reasoning, though in an
unreported decision, in finding that personal jurisdiction did not exist based on the
plaintiff's allegations as to defamation. In that case, Catalyst Pharm.., Inc. v. Fullerton,
748 F. App'x 944 (11th Cir. 2018), the “amended complaint alleged that Fullerton
‘published ... defamatory Statements in Florida to Catalyst and third parties in Florida
via [the Message Board] dedicated to discussions regarding Catalyst,’ ” and that
“these Statements were accessed by Catalyst and others in Florida.’ ” Id. at 947. The
Eleventh Circuit affirmed the district court’s dismissal for lack of personal
jurisdiction, reasoning that the complaint failed to make a showing on an essential
element of its case, that is, that the statements were accessed in Florida. Id. at 947.
According to the appellate court, “[w]hile the[] allegations may establish that
Fullerton’s statements were accessible in Florida, they do not point to any facts
showing the statements were accessed in Florida.” Id.

Applying the rationale of the Florida Supreme Court in Internet_Sols.,

Zimmerman’s Amended Complaint has pleaded sufficient facts to show that

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Defendants committed a tortious act within Florida such that long-arm jurisdiction

exists.

IV. Defendants’ Tweets were Defamatory

 

“Mixed expression of opinion, however, is not constitutionally protected and
exists when a published statement containing an opinion is made and is not based on
facts set forth in the article, or assumed facts and, therefore, implies the existence of
some other undisclosed facts on which the opinion is based. Demby v. English, 667
So. 2d 350, 355 (Fla. Dist. Ct. App. 1995). “In determining whether the statement is
one of pure or mixed opinion, the [*984] court must examine the words used, together
with the totality of the circumstances and the context, within which it was published.”
Sullivan v. Barrett, 510 So. 2d 982, 983-84 (Fla. Dist. Ct. App. 1987).

Here, despite Defendants’ best efforts to try to couch their tweets as “pure
opinion,” in the context of the entire tweets, it is clear that they were instead asserting
false facts about Plaintiff. While the statements, “How many 25th birthdays have
been stolen from us by white supremacy, gun violence, prejudice, and fear?” And
“We need to end gun violence and racism” on their own may qualify as pure opinion,
the fact they are juxtaposed next to a tweet about Trayvon Martin’s birthday converts
them to statements of fact concerning Plaintiff. This is because any objective reader
of the tweet would understand it as such. This is a matter of common sense. The only
rational understanding of Defendants’ tweets is that Defendants are directly referring

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to Plaintiff as engaging in “white supremacy, gun violence, prejudice...” as well as
“racism.”
Defendants next contend that the referring to Plaintiff as engaging in “white

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supremacy, gun violence, prejudice...” as well as “racism” is not defamatory.
However, they fail to come up with a single controlling Florida or Eleventh Circuit
case that this is the case. This is particularly true with regard to Buttigieg’s reference
to Plaintiff as a white supremacist. Whether an individual is a white supremacist is
an objectively verifiable statement of fact. Does the individual belong to any groups
that champion white supremacy? Has the individual ever publicly championed white
supremacy? If so, then that individual is a white supremacist. In Plaintiff’s case, he
has done nothing close to that, since he is not a white supremacist. Plaintiff is
half-Peruvian, so being a “white supremacist” is not really even an option for him.
Indeed, “white supremacy” is even formally defined by Merriam-Webster as “a
person who believes that the white race is inherently superior to other races and that
white people should have control over people of other races.”6 Thus, this is a
statement of concrete fact, not unverifiable opinion.

Furthermore, whether Plaintiff engaged in “gun violence” is also an objectively
verifiable fact. Here, Plaintiff Zimmerman was acquitted of all charges stemming
from the Trayvon Martin shooting, so objectively, and under the eyes of the law, he
did not engage in “gun violence,” but instead justifiable self defense.

Thus, despite Defendants’ best attempts to twist and couch their tweets to try
to escape liability for their actions, their tweets were clearly defamatory under Florida

law.

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V. ‘Plaintiff Sufficiently Pled Actual Malice

Plaintiff has more than met the threshold for pleading actual malice. The
Complaint unquestionably alleges facts sufficient to “give rise to a reasonable
inference that the false statement was made ‘with knowledge that it was false or with
reckless disregard of whether it was false or not.”” Michel v. NYP Holdings, Inc., 816
F.3d 686, 702 (11th Cir. 2016). First and foremost, the Complaint sets forth that
Plaintiff was acquitted of all charges regarding the Trayvon Martin shooting. Comp.
{| 17. Defendants clearly knew this as well. Thus, from this alone, they must have
known that Plaintiff did not engage in “gun violence,” since he was acquitted of all
charges. The same is true for their allegations of “white supremacy” and “racism.” If
Plaintiff had acted out of “white supremacy” and “racism” in shooting Trayvon
Martin, as opposed to self-defense, he surely would have been convicted. Defendants

therefore, at a minimum, recklessly disregarded the truth.
VI. Lack of specific reference to Zimmerman is still Defamation

Defendants argue that their tweets are not about Zimmerman, do not mention
his name at all, nor imply anything about him. [Doc. 17 at p. 13]. This argument
relates to the second element of the tort, falsity, as the false statement must be of or
concerning the plaintiff. See Lopez v. Ingram Micro, Inc., No.
95-2004-CIV-NESBITT, 1997 WL 401585, at *4 (S.D. Fla. Mar. 18, 1997) (noting

that defamation in Florida requires that the defendant publish a false statement of fact

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of or concerning the plaintiff); Baker v. McDonald's Corp., 686 F. Supp. 1474, 1484
(S.D. Fla. 1987) (stating that in Florida “the plaintiff must show that the defendant
made a false statement of fact of or concerning the plaintiff’), aff'd, 865 F.2d 1272
(11th Cir. 1988). Certainly, this element applies to all forms of the tort.

The Court agreed that Zimmerman’s name is nowhere mentioned in either
tweet. [Doc. 1-1 pp. 27, 29]. However, it does not appear that there is a strict
requirement, in Florida, that the author of the defamatory publication specifically
identify a person by name for the statement to be actionable. The case law merely
indicates that the statement must concern a public official or a private person. See
Jews For Jesus, 997 So. 2d at 1106. In fact, defamation by implication is premised
not on direct statements. Id. at 1107-08. Certainly, a tortfeasor could juxtapose a
series of facts in such a way that a specific person is identifiable even though that
person’s name has not been used.

The Court ruled that the claim for defamation by implication in Count II is
therefore not subject to dismissal on this basis. Moreover, the Court said it would not
impose such a requirement, in the absence of Florida-authority on the issue, as to
either the claim for general defamation in Count I or defamation by implication in
Count II. Even then, the complaint alleges generally that “[t]he name ‘George
Zimmerman’ is 100% synonymous with Trayvon Martin and the incident that resulted
in the death of Trayvon Martin.” [Doc. 1-1 9] 21, 23]. Taking this allegation as true,
Zimmerman plausibly alleges that the tweets, when considered as a whole, included

an implied or indirect reference to him due to the incident resulting in Trayvon

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Martin’s death. As such, the Court has disagreed that the failure to name

Zimmerman in the tweets subjects the claims to dismissal.
VII. Count Ill of the Amended Complaint states a claim for defamation per se

The Defendants claim that Zimmerman failed to state a claim for defamation
per se. Paragraphs 47-62 state:
“THIRD CAUSE OF ACTION

Defamation Per Se
Defendants Buttigieg and Warren

 

47. Plaintiff Zimmerman repeats and re-alleges all of the previous allegations of
the entirety of this Complaint with the same force and effect, as if fully set
forth herein again at length.

48. Defendants, together and both of them acting in concert, jointly and
severally, and individually, have defamed Plaintiff Zimmerman by knowingly,
intentionally, wiilfully, and recklessly publishing statements about him which
they knew or should have known to be false and misleading.

49. Defendants made and published false and defamatory statements
concerning Plaintiff Zimmerman by calling, representing and publishing
within this district, the nation and the world, with actual malice, that
Plaintiff Zimmerman was directly responsible for “white supremacy,” “gun
violence,” “prejudice,” “fear” and “racism,” among other defamatory
innuendos and statements as explained above; and thus murdered Trayvon
Martin as a result.

50. These statements are defamatory per se because they falsely accuse
Plaintiff Zimmerman of committing a serious crime, which he was
exonerated for, and which amounts to a crime of moral turpitude. As
defamation per se, actual malice and damage to Plaintiff Zimmerman is
presumed as a matter of law.

51. Defendants acted in concert and are therefore jointly and severely liable as
joint tortfeasors, and individually.

52. Defendants acted with actual malice insofar as they knew that the statements
made against Plaintiff Zimmerman were false and/or recklessly disregarded
their truth. Defendants had reason to know that their tweets were false and
misleading.

53. Defendants statements and the tweets were made without any privilege.

34. Defendants false words concerning Plaintiff Zimmerman are so harmful that

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proof of their injurious effect is unnecessary.

55. As a direct and proximate result of Defendants’ extreme, outrageous and
malicious, defamatory conduct set forth above, Plaintiff Zimmerman has
been the subject of widespread ridicule and humiliation and has suffered
severe loss of reputation, which has in turn also caused him pain and
financial damage.

56. These false impressions of Plaintiff Zimmerman, which Defendants created,
caused irreparable harm to him, his reputation, his business and person and
his calling, as well as to his family. He has also suffered financial damages.

57. Defendants published numerous false, misleading slanderous, defamatory
statements to severely harm and damage Plaintiff Zimmerman on their
Twitter accounts.

58. These false, misleading and defamatory statements were published on Twitter
and disseminated on the Internet and retweeted and covered widely in the
media for persons in this circuit and the entire world to see and hear.

59. These false, misleading and defamatory statements were published with
actual malice, as Defendants knew that they were false and misleading,
and/or at a minimum acted with a reckless disregard for the truth.
Defendants also had reason to know that they were false and exhibited a
reckless disregard for the truth.

60. Plaintiff Zimmerman has been severely harmed and damaged by these false
and misleading defamatory statements because they subject him to hatred,
distrust, ridicule, contempt, and disgrace.

61. These statements are per se defamatory because they falsely accuse Plaintiff
Zimmerman of having committed a felony crime.

62. As a result of this, Plaintiff Zimmerman suffered severe reputational and

other special and general damages, as set forth above.”

Vilt. Defamation Per Se Claim

Buttigieg and Warren also allege that Zimmerman has not and cannot plead
facts rendering plausible the allegations as to malice. Malice is an element of both
the general defamation and defamation by implication claims and is presumed for
claims of defamation per se. Rapp, 997 So. 2d at 1108; Klayman, 650 F. App'x at
749; Lawnwood Med. Ctr., 43 So. 3d at 727. A defamatory statement is made with

“actual malice” if it was made with knowledge of its falsity or with a reckless

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disregard as to whether it was true or not. Miami Herald Pub. Co. v. Ane, 458 So. 2d
239, 241 (Fla. 1984) (quoting New York Times Co. v. Sullivan, 376 U.S. 254, 279-80
(1964)). The complaint alleges that Buttigieg and Warren’s tweets implied that
Zimmerman had killed Trayvon Martin because Zimmerman is racist or a white
supremacist, or due to other like reasons, even though both were aware that he was
acquitted of all charges based on evidence that he acted out of self-defense. The
Court has already ruled that based on the allegations of the complaint, taken as true,
Count I and Count II sufficiently plead that Buttigieg and Warren knew the falsity of
what their respective tweets implied and therefore acted with malice in publishing
them.

Defendants argue that the defamation per se claim should fail because it
requires too many inferential steps to get to the conclusion that the tweets accuse him
of murder. The complaint expressly states that “[t]hese statements are per se
defamatory because they falsely accuse . .. Zimmerman of having committed a felony
crime.” [Amended Complaint | 50]. However, the complaint also states that the
“statements .. . subject him to hatred, distrust, ridicule, contempt, and disgrace.” Id.
{| 60]. As the Court noted above, defamation per se is not confined to statements that
someone committed a crime, as statements that tend to subject a person to hatred,
distrust, ridicule, contempt or disgrace can suffice. Adams, 84 So. 2d at 551.

Certainly, a statement that attributes racist and white supremacist attributes to
someone could subject that person to such harm. According to the complaint,
Buttigieg’s tweet suggests that Trayvon Martin’s death resulted from either “white

supremacy, gun violence, prejudice, or fear.” [Amended Complaint { 10, 40].

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Warren’s tweet allegedly places blame for Trayvon Martin’s death on “gun violence
and racism.” Id. at pp. 29. The complaint therefore pleads an additional basis for

defamation per se liability.
IX. Defendants Have Given No Reason For Limited Discovery

Rules 26 to 37 of Title V of the Federal Rules of Civil Procedure (FRCP) deal
with depositions and discovery. These rules guide the discovery process at the
federal level. Limited Discovery in this case would serve no purpose. The
Defendants have given no reason for Limited Discovery. The pulication has already
occurred. Limited Discovery at this point in the proceeding would not expedite or

narrow the proceeding.
X. Leave to Amend Rule 15 FRCP

The Plaintiff respectfully requests leave to amend again to deal with any

remaining deficiencies pursuant to Rule 15 FRCP.
CONCLUSION

For these compelling reasons, Plaintiff respectfully requests that Defendants’
motion to dismiss be denied and this case allowed to proceed to discovery forthwith.

Defendants are not above the law, and they must be held to legally account for their

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actions without regard to their professed elite political status.

The Defendants have no excuse for harming an innocent man by calling him,
falsely, a white supremacist — a statement of fact -- and smearing him with charges
that he engages in gun violence, when he was found by a jury of his peers to have
acted in self-defense. This is particularly actionable when the Defendants knew of
this acquittal and thus possessed the requisite actual malice. Their cynical,
irresponsible and lawless intent was to gain votes.

Plaintiff respectfully requests oral argument on Defendants’ non-meritorious

motion which must be denied.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the
best of my knowledge, information and belief that this complaint: (1) is not being
presented for an improper purpose, such as to harass, cause unnecessary delay, or
needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the
factual contentions have evidentiary support or, if specifically so identified, will
likely have evidentiary support after a reasonable opportunity for further investigation
or discovery; and (4) the complain other wise complies with the requirements of Rule

11.

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CERTIFICATE OF SERVICE
I hereby certify that on April 21, 2021, I filed a copy of the foregoing Notice
of Appearance with the Clerk of the Court using the CM/ECF system, which will

send notification of such filing to all counsel of record.

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Respectfully submitted April 21, 2021,

WEB

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